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                    IN THE CIRCUIT COURT OF MADISON COUNTY
                                STATE OF ILLINOIS

UNITED STATES OF AMERICA                    )
                                            )       Case No.:      1:21-cr-160
       v.                                   )
                                            )
FELICIA KONOLD,                             )
                                            )
       DEFENDANT.                           )
                                            )
CORY KONOLD,                                )
                                            )
       DEFENDANT.                           )

 MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANTS CORY
                  KONOLD AND FELICIA KONOLD

COMES NOW Albert S. Watkins, Alyssa Cross and the law firm of Watkins, LLC, dba Kodner
Watkins, and, for their Motion for Leave to Withdraw as Counsel for Defendants Cory Konold
and Felicia Konold, states to the Court as follows:

       1. Defendants Felicia Konold and Cory Konold have confirmed with the undersigned
          their engagement of new legal counsel, Nicholas Smith, Esq., to represent them going
          forward herein.
       2. The undersigned has confirmed with Defendants Konold the termination of the status
          of the undersigned, its associate counsel and their firm, as counsel for the Defendants
          Konold.
       3. Successor counsel has recently entered herein as counsel for the Defendants Konold.

WHEREFORE, Albert S. Watkins, Alysia Cross and the law firm of Watkins, LLC dba Kodner
Watkins, request leave of Court to withdraw as counsel of record herein for Defendant Cory
Konold and Defendant Felicia Konold.


                                            KODNER WATKINS, LC


                                            By:___/s/ Albert S. Watkins________
                                            ALBERT S. WATKINS, LC, #399625
                                            Attorney for Defendants
                                            1200 S. Big Bend Blvd.
                                            St. Louis, Missouri 63117
                                            (314) 727-9111
                                            (314) 727-9110 Facsimile
                                            E-Mail:albertswatkins@kwklaw.net
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                                          By:___/s/ Alyssa M. Cross_____________
                                          ALYSSA M. CROSS, ESQ. DC#1708519
                                          Attorney for Defendants
                                          1200 S. Big Bend Blvd.
                                          St. Louis, MO 63117
                                          (314) 727-9111
                                          (314) 727-9110 Facsimile
                                          across@kwklaw.net



                                CERTIFICATE OF SERVICE

      Signature above is also certification that a true and correct copy of the above and foregoing
document has been electronically issued via the Court’s electronic filing service this 3rd day of
December, 2021.


So Ordered:


By__________________________________
